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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  JOY CASTANARES                        CASE NO.
                                        2:21−cv−05973−DSF−PVC
               Plaintiff(s),
        v.                      Order to Show Cause re
  JPMORGAN CHASE BANK, N.A., et Dismissal for Lack of
  al.                           Prosecution

              Defendant(s).




         The Federal Rules of Civil Procedure require a plaintiff to serve process
     on the defendants within 90 days of the filing of the complaint. Fed. R. Civ.
     P. 4(m). The Court may extend this deadline for good cause. Id. More than
     90 days have passed since the complaint in this case was filed, and Plaintiff
     has not filed a proof of service for at least one defendant. Therefore,
     Plaintiff is ordered to show cause no later than November 18, 2021 why the
     unserved defendant(s) should not be dismissed for failure to prosecute. The
     filing of proof(s) of service showing that the relevant defendant(s) was/were
     served within the 90-day period or a showing of good cause for extending
     the service period constitute adequate responses to this order.

       IT IS SO ORDERED.

  Date: November 4, 2021                     /s/ Dale S. Fischer
                                            Dale S. Fischer
                                            United States District Judge
